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UNITED STATES DIS'I`RICT COURT

FOR THE
DISTRICT OF DELAWARE
REBECCA STONEBRAKER, )
)
Plaintiff )
)
v. ) Case No.:
)
BYRON & DAVIS, C.C.C.C., lNC., ) COMPLAINT AND DEMAND FOR
) JURY TRIAL `
Defendant )
) (Unlawful Debt Collection Practices)

 

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REBECCA STONEBRAKER (“Plaintiff”), by her attorneys, KIMMEL &
SILVERMAN, P.C., alleges the following against BYRON & DAVIS, C.C,C.C., iNC.

(“Defendant”):

INTROI)UCTION
l. Plaintiff`s Complaint is based on the Fair Debt Collection Practices Act, 15
U.S.C. § 1692 et seq. (“FDCPA”).
JURISDICTION AND VENUE
2. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

that such actions may be brought and heard before “any appropriate United States district court
without regard to the amount in controversy,” and 28 U.S.C. § 1331 grants this court original
jurisdiction of all civil actions arising under the laws of the United States.

3. Defendant conducts business and has an office in the State of Delaware and

therefore, personal jurisdiction is established

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4. Venue is proper pursuant to 23 U.S.C. § 139l(b)(l).

5. Deciaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202.

PARTIES

6. Plaintiff is a natural person residing in Newark, Delaware, 19?13.

'i'. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

8. Defendant is a debt collection company with corporate headquarters located at
601 Pliiladelpl‘iia Pike, in Wilmington, Delaware, 19809.

9. Defendant is a “debt collector" as that term is defined by 15 U.S.C. § 1692a(6),
and repeatedly contacted Plaintiff in an attempt to collect a debt.

lU. Defendant acted through its agents, crnployees, ofticers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogccs, representatives, and insurers.

PRELIMINARY STATEMENT

ll. The Fair Debt Collection Practices Act (“FDCPA”) is a comprehensive statute,
which prohibits a catalog of activities in connection with the collection of debts by third partiesl
w 15 U.S.C. § 1692 er seq. The FDCPA imposes civil liability on any person or entity that
violates its provisions, and establishes general standards of debt collector conduct, defines abuse,
and provides for specific consumer rights. 15 U.S.C. § 1692k. The operative provisions of the
FDCPA declare certain rights to be provided to or claimed by debtors, forbid deceitlill and
misleading practices, prohibit harassing and abusive tactics, and proscribe unfair or

unconscionable conduct, both generally and in a specific list of disapproved practices

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12. In particular, the FDCPA broadly enumerates several practices considered
contrary to its stated purpose, and forbids debt collectors from taking such action. The
substantive heart of the FDCPA lies in three broad prohibitions First, a “debt collector may not
engage in any conduct the natural consequence of which is to harass, oppress, or abuse any
person in connection with the collection of a debt." 15 U-S.C. § 1692d. Second, a “debt
collector may not use any false, deceptive, or misleading representation or rneans in connection
with the collection of any debt." 15 U.S.C. § 1692e. And third, a “debt collector may not use
unfair or unconscionable means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f.
The FDCPA is designed to protect consumers from unscrupulous collectors, whether or not there
exists a valid debt, broadly prohibits unfair or unconscionable collection metliods, conduct which
harasses, oppresses or abuses any debtor, and any false, deceptive or misleading statements in
connection with the collection of a debt.

13. in enacting the FDCPA, the United States Congress found tha “[t]here is
abundant evidence of the use of abusive, deceptive, and unfair debt collection practices by many
debt collectors,” which “contribute to the number of personal banl<ruptcies, to marital instability,
to the loss of jobs, and to invasions of individual privacy." 15 U.S.C. § 1692a. Congress
additionally found existing laws and procedures for redressing debt collection injuries to be
inadequate to protect consumers 15 U.S.C. § 1692b.

14. Congress enacted the FDCPA to regulate the collection of consumer debts by debt1
collectors. The express purposes of the FDCPA are to “eliminate abusive debt collection
practices by debt collectors, to insure that debt collectors who refrain from using abusive debt
collection practices are not competitively disadvantagcd, and to promote consistent State action

to protect consumers against debt collection abuses.” 15 U.S.C. § 1692e.

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FACTUAL ALLEGA'I`IONS

15. At all relevant times, Defendant was attempting to collect an alleged consumer
debt from Plaintiff.

16. 'l`he alleged debt at issue arose out of transactions, which were primarily for
personal, family, or household purposes

17. Beginning on or around early 2008 and continuing until March of 2010,
Defendant, its agents, employees, and servants, engaged in debt collection activities seeking
payment from Plaintiff.

18. Defendant was attempting to collect debts allegedly owed by Plaintiff on three (3)
medical bills.

19. Plaintiff requested that Defendant send her a statement Defendant waited several
months to submit a written statement and upon receiving it, Plaintiff, acting in good faith
promptly remitted payment to Defendant.

20. Plaintiff waited several more weeks for Defendant to send written verification
that it had received Plaintiff’ s payment

21. Defendant continued its collection efforts and Plaintiff again in good faith
continued to make payments, paying off one account in its entirety. During this time period,
Plaintiff requested that Defendant update statements, so that accurate records could be kept of
payments made by Plaintiff. Defendant refused to send any more written statements, and
continued its collection efforts by calling Plaintiff.

22. Plaintiff sent Defendant written correspondence, informing Defendant that

without a written statement she was reluctant to make any further payments, because she felt

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that the previous payments she made where not being credited to her accounts.

23. Defendant and its employees identified as “Anthony” and “.left", disregarded the
letter and harassed Plaintil"f in an attempt to collect the alleged debt.

24. Defendant, its employees and servants harassed Plaintiff by making continuous
calls to her home telephone nuniber.

25. Plaintiff received phone calls and voice messages from Defendant on a number of
occasions from the following phone number (302) 792»2334. The undersigned has confirmed
that the number belongs to Defendant

26. Defendant placed repeated calls to Plaintift`s telephone almost every day,
causing Plaintiff to receive, at times, more than four (4) collection calls per day.

27. Defendant placed repeated calls to Plaintiff’s telephone almost every day, causing
Plaintiff to receive, at times, more than ten (10) collection calls a week and at times, more than
twenty (20) collection calls per month.

28. Defendant has contacted Plaintiff as late as 9:45 in the evening.

29. On many occasions, Defendant’s calls were placed within minutes of prior calls it
had made to Plaintiff.

30. Plaintiff has requested Defendant cease with the telephone calls, but Defendant
has refused and the harassing calls persisted.

31. On March 16, 2010, Plaintiff again informed Defendant that without a written
statement she was reluctant to make any further payments, because she felt that the previous
payments she made where not being credited to her accounts.

32. Again Defendant refused to send any Written statements to Plaintiff.

33. Defendant then proceed to tell Plaintiff that she would be taken to court, a lien

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would be taken out against her property and her wages would be garnished if she did not make
payments

34. Plaintil'i` responded to Defendant that she did not own a home and that Defendant
needed to cease and desist from calling Plaintiff. Plaintiff then hung up the telephone.

35. Defendant immediately called Plaintiff back.

36, Additionally Defendant has contacted Plaintiff’s father assuming him to be
Plaintifi"s spouse and without continuing who he [Plaintifi’s father] was prior to engaging him
in discussion, divulged Plaintiff’ s complete collection account history with him.

37. 'l`his was highly embarrassing to Plaintiff.

38. Defendant advised Plaintiff’s father that it intended to sue Plaintiff, place a lien
on her property, andfor garnish her wages if he [Plaintiff’s father] failed to pay the alleged debt.

39. 'l`o date, despite threats to the contrary, Defendant has not filed a lawsuit or taken
other legal action against Plaintiff, thereby indicating it did not intend to take the action
previously threatened

40. Defendant has failed to provide any documentation detailing the payments,
interest, and late charges, if any, thereby making it impossible for Plaintiff to determine whether
or not the alleged debt was correctly calculated and whether she has paid off her debt obligation

41. Upon information and belief, Defendant acted with malicious, intentional, willful,
reckless, negligent and wonton disregard for Plaintift’s rights with the purpose of coercing

Plaintiff into paying thc alleged debt and that Defendant thereby caused Plaintiff harm.

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CONSTRUCTION OF APPLICABLE LAW

42. The FDCPA is a strict liability statute. Tavlor v. Perrin. Landrv. deLaunay &
Mn_d,, 103 F.3d 1232 (Sth Cir. 199?'). “Because the Act imposes strict liability, a consumer
need not show intentional conduct by the debt collector to be entitled to damages.” Russell v.
Eguifax A.R.S., 14 F. 3d 30 (2d Cir. 1996); see also Gearing vi Check Brokerage Co@., 233
F.3d 469 (Tth Cir. 2000) (holding unintentional misrepresentation of debt collector’s legal status
violated FDCPA); Clomon v. Jackson, 988 F. 2d 1314 (2d Cir. 1993).

43. The FDCPA is a remedial statute, and therefore must be construed liberally in
favor of the debtor- Sprinkle v. SB&C Ltd., 472 F. Supp. 2d 1235 (W.D. Wash. 2006). The
remedial nature of the FDCPA requires that courts interpret it liberally. Clark v. Capital Credit
& Collection Services. lnc., 460 F. 3d 1162 (9th Cir. 2006). “Because the FDCPA, like the
Truth in Lending Act (TILA) 15 U.S.C §1601 er seq., is a remedial statute, it should be
construed liberally in favor of the consumer.” Johnson v. Riddle, 305 F. 3d 1101l (10th Cir.
2002)v

44. The FDCPA is to be interpreted in accordance with the “least sophisticated”
consumer standard. See Jeter v. Credit Bureau. Inc., 760 1~`.2d 1168 (1 lth Cir. 1985); Graziano
v. Harrison, 950 F. 2d 10'? (3rd Cir. 1991); Swanson v. Southern Oregon Credit Scrvice. Inc..
869 F.2d 1222 (9th Cir. 1988). 'l`he FDCPA was not “made for the protection of experts, but for
the public - that vast multitude which includes the ignorant, the unthinking, and the credulous,
and the fact that a false statement may be obviously false to those who are trained and
experienced does not change its character, nor take away its power to deceive others less
experienced.” § The least sophisticated consumer standard serves a dual purpose in that it

ensures protection of all consumers, even naive and trusting, against deceptive collection

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practices, and protects collectors against liability for bizarre or idiosyncratic interpretations of

collection notices. Clomon 988 F. 2d at 1318.

 

COUNT I
DEFENDANT VIOLATED THE
FAIR DEBT COLLECTION PRACTICES ACT
45. In its actions to collect a disputed debt, Defendant violated the FDCPA in one or
more of the following ways:

a. Defendant violated of the FDCPA generally;

b. Defendant violated § 1692b(2) of the FDCPA by stating to a third person that
Plaintiff owed a debt to another person, specifically the third person being her
father;

c. Defendant violated § 1692c(a)(1) of the FDCPA when it contacted the
Plaintiff at an unusual time or place or a time and place known or should be
known to be inconvenient to the Plaintiff, specifically after 9:00 p.m., in
connection with the collection of a debt;

d. Defendant violated § 1692c(b) of the FDCPA by communicating with
Plaintiifs father about a debt alleged to be owed by Plaintiff without
Plaintiff‘s prior consent;

e. Defendant violated § 1692d of the FDCPA by harassing Plaintiff in
connection with the collection of an alleged debt;

f. Defendant violated § 1692d(5) of the FDCPA, when it caused the Plaintifl`s
telephone to ring repeatedly or continuously with the intent to harass, annoy
or abuse Plaintiff;

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WHEREFORE, Plaintiff, REBECCA STONEBRAKER, respectfully pray for ajudgment as

follows:

. Defendant violated § 1692e of the FDCPA by using false, deceptive, or

. Defendant violated § 1692e(5) of the FDCPA by threatening to take action

. Defendant acted in an otherwise deceptive, unfair and unconscionable manner

misleading representations or means in connection with the collection of a

debt;

that cannot legally be taken or that is not intended to be taken;

Defendant violated § l692e(10) of the FDCPA by using false representations
or deceptive means to collector attempt to collect a debt;

Defendant violated § l692f of the FDCPA by using unfair and

unconscionable means with Plaintiff to collect or attempt to collect a debt;

and failed to comply with the I"DCPA.

All actual compensatory damages suffered pursuant to 15 U.S.C. §
1692k(a)(1);
Statutory damages of $1,000.00 for each violation of the FDCPA pursuant
to 15 U.S.C. § 1692k(a)(2)(A);
All reasonable attorneys’ fees, witness fees, court costs and other litigation
costs incurred by Plaintiff pursuant to 15 U.S.C. § 1693k(a)(3); and

Any other relief deemed appropriate by this Honorable Court.

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trial in this case.

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DEMAND FOR JURY TRIAL

PI_,EASE TAKE NOTICE that Plaintiff, REBECCA STGNEBRAKER, demands a jury

RESPECTFULLY SUBMITTED,

KIMMEL & SILVERMAN, P.Ci.

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